                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,

                                 PLAINTIFFS,

                     v.
                                                       CIVIL ACTION
                                                NO. 1:16-CV-1026-WO-JEP
ROBERT A. RUCHO, in his official capacity as
Chairman of the North Carolina Senate
                                                  THREE-JUDGE COURT
Redistricting Committee for the 2016 Extra
Session and Co-Chairman of the Joint Select
Committee on Congressional Redistricting, et
al.,
                               DEFENDANTS.


LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, et al.,

                                  PLAINTIFFS,

                      v.
                                                       CIVIL ACTION
ROBERT A. RUCHO, in his official capacity as    NO. 1:16-CV-1164-WO-JEP
Chairman of the North Carolina Senate
Redistricting Committee for the 2016 Extra        THREE-JUDGE COURT
Session and Co-Chairman of the 2016 Joint
Select Committee on Congressional
Redistricting, et al.,

                                DEFENDANTS.


         RESPONSE OF THE COMMON CAUSE PLAINTIFFS TO THE
               COURT’S ORDER OF SEPTEMBER 4, 2018




      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 1 of 8
       In its Order of September 4, 2018, the Court directed Plaintiffs and the State

Defendants1 to respond to Legislative Defendants’ stay motion and specifically address

“whether Legislative Defendants will suffer irreparable harm from our order not to allow

the use of the unconstitutional 2016 Plan beyond the November 6, 2018, general

election.”

       The short answer is no – Legislative Defendants will not be irreparably harmed

from the denial of their motion for a stay of this Court’s order, so long as the Supreme

Court has the opportunity to affirm this Court’s ruling in its upcoming October 2018

Term, i.e., by the end of June 2019. The only immediate effect of the Court’s August 27,

2018 Order is (a) to declare the 2016 Plan unconstitutional and (b) to enjoin the use of the

2016 Plan by the defendants – which include the North Carolina State Board of Elections

and the State of North Carolina –for congressional elections held after the November 6,

2018 general election.

       Legislative Defendants have already filed their Notice of Appeal. If Legislative

Defendants pursue their appeal diligently and file their Jurisdictional Statement

expeditiously within 30 days (rather than waiting the full 60 days permitted by Supreme

Court rules) and if they refrain from seeking extensions of time while prosecuting the


1
  The State Defendants consist of the Chairman of the North Carolina Board of Elections,
the Board itself, and the State of North Carolina. These defendants have not sought a
stay and have not appealed this Court’s order. As this Court has recognized, see Jan. 16,
2018 Order, ECF 123 at 9-10, Legislative Defendants—four Republican leaders of the
General Assembly, none of whom are running for or elected to Congress—cannot show
that they will be irreparably harmed by enjoining the use of the 2016 Plan after this year’s
election while they await a Supreme Court ruling.

                                             2


      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 2 of 8
appeal, there will be ample time for the Supreme Court either to summarily affirm or to

note probable jurisdiction and rule on the merits of their appeal during the October 2018

Term, well in advance of the 2020 general election. This Court has discretionary

authority to condition the stay on Legislative Defendants’ pursuit of an expedited appeal.

See, e.g., Donovan v. Bierwirth, 680 F.2d 263, 265 (2d Cir. 1982); United States ex rel.

Anti-Discrimination Ctr. of Metro N.Y., Inc. v. Westchester Cnty., 2016 U.S. Dist. LEXIS

83466, at *37 (S.D.N.Y. June 27, 2016); Florida v. United States HHS, 780 F. Supp. 2d

1307, 1319 (N.D. Fla. 2011); People for the Am. Way Found. v. United States Dep't of

Educ., 518 F. Supp. 2d 174, 178-79 (D.D.C. 2007); Ctr. For Int’l Evtl. Law v. Office of

the United States Trade Representative, 240 F. Supp. 2d 21, 23-24 (D.D.C. 2003); United

States v. Linnas, 527 F. Supp. 426, 440 n.36 (E.D.N.Y. 1981).

       By contrast, Plaintiffs and the citizens of North Carolina would be irreparably

harmed if a stay is granted without imposing a concomitant obligation on Legislative

Defendants to pursue their appeal expeditiously. That inequitable result may permit

Legislative Defendants to delay a decision by the Supreme Court until the 2020 Term, at

which time they would then certainly argue (as they have in every prior instance) that any

remedy would come too late.

       Legislative Defendants have already moved up the date for qualifying for the

November 2020 congressional elections by two months. Qualifying for the 2020 election

is now scheduled to begin in mid-December 2019. The primary takes place in May 2020.

Legislative Defendants should not be allowed to drag their feet and try to run out the



                                             3


      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 3 of 8
clock once again. If Legislative Defendants succeed in delaying a ruling on their appeal

by the Supreme Court until the end of the October 2019 Term, i.e., June 2020, they will

then argue that it will be too late in the election cycle and will cause “chaos and

confusion,” to order new congressional district lines to be drawn prior to the 2020 general

elections, even if, as we expect, the Supreme Court rejects the Legislative Defendants’

arguments and affirms the ruling of this Court. While we will dispute that argument,

there is no need for it to exist at all. The citizens of North Carolina are entitled to a ruling

on the issues presented by this case well before then.

       Legislative Defendants are not entitled to a stay pending appeal as a matter of

right. A stay pending appeal is a discretionary measure that normally requires a strong

showing by the moving parties that they are likely to succeed on appeal, that they will be

irreparably harmed by the denial of a stay, and that the harm to the movants outweighs

any harm to the opposing parties or to the public if a stay is granted. Nken v. Holder, 556

U.S. 418, 433 (2009). Legislative Defendants do not meet this test. Meanwhile,

Plaintiffs and the public will be irreparably injured if this Court’s ruling cannot be

implemented in time for the 2020 elections.

       The Common Cause Plaintiffs agree that a prompt decision from the Supreme

Court on the merits of the constitutional claim is now possible and will serve the public

interest. For that reason, they do not object to a discretionary stay pending appeal – in

effect, simply a commitment by this Court not to impose remedies until the Supreme

Court rules – so long as Legislative Defendants are ordered to pursue their appeal



                                               4


      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 4 of 8
expeditiously by (1) filing their Jurisdictional Statement within 30 days of the filing of

their Notice of Appeal, i.e., by October 1, 2018, and (2) refraining from seeking any

extensions of time in prosecuting this appeal. If those conditions are met, the stay will

remain in effect. If they are violated, the stay will expire by its own terms. (The

Common Cause Plaintiffs reserve the right to move this Court to lift the stay if for some

reason there is no ruling by the Supreme Court by June 2019).

       Respectfully submitted, this 5th day of September, 2018.

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                                              5


      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 5 of 8
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                               6


Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 6 of 8
            CERTIFICATE OF COMPLIANCE WITH WORD COUNT

       The undersigned hereby certifies that the foregoing brief, exclusive of the case

caption and certificate of service, contains less than six thousand two hundred fifty

(6,250) words.

       This the 5th day of September, 2018.

                                          /s/ Edwin M. Speas, Jr.
                                          Edwin M. Speas, Jr.




      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 7 of 8
                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to

all counsel and parties of record.

       This the 5th day of September, 2018.

                                           /s/ Edwin M. Speas, Jr.
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      Case 1:16-cv-01026-WO-JEP Document 152 Filed 09/05/18 Page 8 of 8
